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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


    THE FEW, THE PROUD, THE
    FORGOTTEN et al.,
         Plaintiffs,
                                                         No. 3:16-CV-647 (VAB)
         v.

    UNITED STATES DEPARTMENT OF
    VETERANS AFFAIRS,
         Defendant.



                                              ORDER

        Having conducted a hearing regarding outstanding discovery on January 31, 2018, and

upon further consideration, the Court orders the following: (1) Plaintiffs will submit additional

search terms to the Defendant by February 7, 2018; (2) separately, the parties will file a status

report with the Court on February 14, 2018; and (3) the parties and representatives from the

Department of Veterans Affairs would return to Court for a follow-up hearing on Monday,

February 26, 2018 at 10:00 a.m. in Courtroom 2 of the Brien McMahon Federal Building, 915

Lafayette Blvd., Bridgeport, CT.

        At this hearing, the parties will again discuss a plan for the efficient and orderly

resolution of this case and the representatives from the Department of Veterans Affairs, to the

extent necessary, will have to testify under oath about their efforts to address the outstanding

discovery. Following this hearing, the Court will issue a new order, relating to the outstanding

discovery, to the extent necessary, and will develop a process for ensuring compliance with it. In

the interim, Plaintiffs will be permitted to take depositions of Department of Veterans Affairs

personnel regarding the outstanding discovery. See Deitz v. Bouldin, 136 S. Ct. 1885, 1892



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(2016) (noting a court’s inherent authority to manage its docket with a “view toward the efficient

and expedient resolution of cases.”)

       The reasons for this ruling are as follows:

       On May 26, 2017, the Court issued a summary judgment ruling, finding that Defendant,

the United States Department of Veteran Affairs, had adequately searched its requests with

respect to paragraphs 14 and 15 of Plaintiffs, The Few, the Proud, the Forgotten, et al., but had

failed to search adequately for the remaining searches. Order on Mot. for Summ. J. at 1, ECF No.

39. The Court also noted that “Defendant may submit any supplemental responsive information

within thirty days of this Order,” id. at 31, and “any additional affidavits describing its searches

within forty-five days of this Order.” Id. The Court also noted that “[a]fter this forty-five day

period, Plaintiffs may conduct depositions consistent with this Order.” Id.

       Not long after this Order, Defendant sought an extension of time until July 10, 2017 and

July 24, 2017 to comply with it. ECF No. 40. The Court granted this motion. ECF No. 41. On

September 26, 2017, Plaintiffs, with consent from Defendant, moved for a status conference to

set deadlines for the production of outstanding documents and search declarations. ECF No. 42.

The Court granted this motion, ECF No. 43, and held a telephonic status conference on October

4, 2017. ECF No. 46. The Court then issued an order requiring that Defendant’s supplemental

declarations be due by October 20, 2017 and Defendant’s supplemental document production be

due by January 12, 2018. On December 19, 2017, the Court held another status conference,

regarding the upcoming document production due by January 12, 2018. ECF No. 57. The Court

“ordered that all document production be completed by 01/12/2018.” ECF No. 59. The Court

further ordered that: “In the event that all documents are not produced by the deadline, the Court

ORDERS the United States Department of Veterans Affairs to make available representative



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from the Agency with the appropriate authority an technical knowledge to testify in person at the

01/17/2018 hearing about why production has been delayed” and “provide a schedule for the

[case’s] efficient resolution.” Id.

        Defendant failed to produce the documents by January 12, 2018 and the Court held a

hearing on January 31st, having continued the January 17, 2018 date, at the request of

Defendant. ECF No. 63. At the hearing on January 31st, Defendant produced several

representatives from the Department of Veterans Affairs who were prepared to testify as to why

documents have not been produced and when documents will be produced. Not too long into the

hearing, the Court decided that the presence of representatives from Defendant provided a

propitious moment for the parties to meet and discuss a way forward.

        The parties agreed to the following: (1) Plaintiffs will submit additional search terms to

the Defendant by February 7, 2018; (2) separately, the parties will file a status report with the

Court on February 14, 2018; and (3) the parties and representatives from the Department of

Veteran Affairs would return to Court for a follow-up hearing on Monday, February 26, 2018 at

10:00 a.m. in Courtroom 2 of the Brien McMahon Federal Building, 915 Lafayette Blvd.,

Bridgeport, CT. At that hearing, the parties will again discuss a plan for the efficient and orderly

resolution of this case.

        At the January 31st hearing, the Court declined an invitation from the Plaintiffs to permit

the taking of depositions of knowledgeable Department of Veterans Affairs personnel, regarding

their searches. In so ruling, however, the Court failed to consider properly its earlier summary

judgment ruling, permitting depositions to be taken several months ago. ECF No. 37. While this

ruling assumed that document production would already have been provided, since Defendant

has not provided the requested discovery in the last several months and the Court has no



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indication of when the Defendant will comply fully with its Order, the Court sees no reason to

limit the discovery tools available to Plaintiffs for addressing the outstanding discovery in this

case. The Court therefore will permit Plaintiffs to take depositions consistent with its May 26,

2017 Order at any time. See Deitz, 136 S. Ct. at 1888‒90 (2016) (stating that district courts have

inherent powers such as modifying or rescinding its orders before final judgment in a civil case

or to manage its docket and courtroom with a view toward the efficient and expedient resolution

of cases); see also Petz v. Ethan Allen, Inc., 113 F.R.D. 494, 497 (D. Conn. 1985) (“[A] court

may exercise broad discretion to manage the discovery process in a fashion that will implement

full disclosure and, at the same time, afford the participants protection against harmful side

effects.”).

        The Court appreciates that this two-pronged approach to discovery may be inconvenient

for Defendant, but recognizes that the considerable delays in discovery, matters in Defendant’s

control, necessitates this ruling. Obviously, the sooner Defendant addresses the outstanding

discovery issues identified in the Court’s May 26, 2017 Order, the sooner any such

inconvenience will end. Cf. Petz, 113 F.R.D. at 496 (“Broad requests for production are not

necessarily harassing or burdensome where the party requesting discovery is ignorant of the

specific contents of the opposing party’s records.”).

        SO ORDERED at Bridgeport, Connecticut, this 1st day of February, 2018.

                                                          /s/ Victor A. Bolden
                                                        VICTOR A. BOLDEN
                                                        UNITED STATES DISTRICT JUDGE




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